Case 1:24-cv-22523-KMM Document 16 Entered on FLSD Docket 09/16/2024 Page 1 of 3


                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION
                      CIVIL CASE NO. 1:24-cv-22523-MOORE/Elfenbein


  KENNY ORTEGA

         Plaintiff,

  v.

  MIAMI-DADE COUNTY, a political
  subdivision in the State of Florida, and
  JOSEPH DIAZ in his individual capacity,

        Defendants.
  _____________________________________/


   PLAINTIFF'S CERTIFICATE OF INTERESTED PERSONS AND COR-
                PORATE DISCLOSURE STATEMENT


  COMES NOW PLAINTIFF, KENNY ORTEGA, pursuant to the Federal Rules of Civil

  Procedure and the Court’s Order, and provides notice that the following individuals and

  entities have a financial interest in the outcome of this case:

         1) The name of each person, attorney, association of persons, firm, law firm, part-

         nership and corporation that has or may have an interest in the outcome of this

         action including subsidiaries, conglomerates, affiliates, parent corporations, pub-

         licly-traded companies that own 10% or more of a party’s stock, and all other iden-

         tifiable legal entities related to any part in this case:

         a.      Rawsi Williams Law Group/Attorney Rawsi Williams, counsel for Plaintiff

         b.      The Allen Firm, P.A./Attorney Frank T. Allen, counsel for Plaintiff

         c.      Mr. Kenny Ortega, Plaintiff(s)

                                                  1
Case 1:24-cv-22523-KMM Document 16 Entered on FLSD Docket 09/16/2024 Page 2 of 3


        d.        Miami-Dade County -- Defendant (s)

        e.        Joseph Diaz, Defendant

        f.        Attorney Fabiana Cohen, Counsel For Miami-Dade County

        2) The name of every other entity whose publicly-traded stock, equity, or debt

        may substantially be affected by the outcome of the proceedings.

                  None.

        3) The name of every other entity which is likely to be active participant in the

        proceedings, including the debtor and members of the creditors’ committee (or if

        no creditors’ committee, the 20 largest unsecured creditors):

                  None.

        4) The name of each victim (individual and corporate) of civil and criminal con-

        duct alleged to be wrongful, including every person who may be entitled to resti-

        tution:

                  Plaintiff Kenny Ortega

        5) Check one of the following:

        _X__ I certify that I am unaware of any actual or potential conflict of interest in-

        volving the District Judge and Magistrate Judge assigned to this case and will im-

        mediately notify the Court in writing upon learning of any such conflict.

        ____ I certify that I am aware of a conflict or basis of recusal of the District Judge

        or Magistrate Judge as follows: (explain)

                              CERTIFICATE OF SERVICE

  I HEREBY CERTIFY that on this 16th day of September 2024, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF. I also certify that the
                                           2
Case 1:24-cv-22523-KMM Document 16 Entered on FLSD Docket 09/16/2024 Page 3 of 3


  foregoing document is being served this day on all counsel of record or pro se parties

  identified on the attached Service List in the manner specified, either via transmission of

  Notices of Electronic Filing generated by CM/ECF or in some other authorized manner

  for those counsel or parties who are not authorized to receive electronically Notices of

  Electronic Filing.

                                          Respectfully Submitted this 16th day of September 2024

                                                      By: /s/ Rawsi Williams
                                                         Rawsi Williams, Esq. R.N.




                                    CERTIFICATE OF SERVICE

  I HEREBY CERTIFY that a true and correct copy of the foregoing document was filed with the

  District Clerk, Florida Southern District, and served electronically on all counsel of record via the

  ECF filing system on this 16th day of September 2024.

                                                          /s/ Rawsi Williams
                                                          Rawsi Williams, Esq. R.N.
                                                          State Bar No. 103201
                                                          RAWSI WILLIAMS LAW GROUP
                                                          701 Brickell Ave., STE 1550
                                                          Miami FL 33131
                                                          TEL: 888-RawsiLaw/888-729-7452
                                                          Email:rawsi@rawsi.com;
                                                          Ajoseph2@rawsi.com;
                                                          docservice@rawsi.com
                                                          Attorney for Plaintiff


  Service List
  Frank Allen, Esq., Co-Counsel for Plaintiff
  Fabiana Cohen, Esq., Counsel for Defendant Miami-Dade County
  Defendant Diaz has not yet been served although diligent service has persisted




                                                     3
